               TRACEY K. KUEHL et al. v. PAMELA SELLNER, et al.
                Case No. 6:14-cv-02034-JSS (N.D. Iowa Cedar Rapids)

                   SUPPLEMENTAL APPENDIX OF EXHIBITS
 TO PLAINTIFFS’ REPLY TO DEFENDANTS’ RESISTANCE TO PLAINTIFFS’ MOTION
                        FOR SUMMARY JUDGMENT




PLAINTIFFS’ SUPPLEMENTAL APPENDIX OF EXHIBITS TO PLAINTIFFS’ REPLY       1
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   EXHIBITS                           EXHIBIT CATEGORY AND TITLE
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 (“Ex. X at 001”)


      Ex. 11          Transcripts

  Ex. 11 at 0727      Deposition of Kris Bell (Mar. 18, 2015) (select pages)
  Ex. 11 at 0728      Deposition of Nancy Harvey (Mar. 18, 2015) (select pages)
Ex. 11 at 0729-0732   Deposition of Tracey Kuehl (Mar. 18, 2015) (select pages)

      Ex. 12          USDA APHIS Denials of Defendants’ Administrative Appeals


  Ex. 12 at 0733      USDA APHIS Regional Director, Elizabeth Goldentyer, DVM to P.
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Ex. 12 at 0734-0735   USDA APHIS, Supervisory Veterinary Medical Officer, Tanya Tims,
                      DVM to P. Sellner (June 23, 2014)
Ex. 12 at 0736-0737   USDA APHIS Director, Western Region, Robert M. Gibbens, DVM to
                      P. Sellner (August 29, 2013)
  Ex. 12 at 0738      USDA APHIS Supervisory Veterinary Medical Officer, Katheryn
                      Ziegerer, DVM to P. Sellner (July 11, 2013)
  Ex. 12 at 0739      USDA APHIS Supervisory Animal Care Specialist, R. Ridenour, DVM
                      to P. Sellner (December 26, 2012)

      Ex. 13          Subpoena To Dr. Pusillo


Ex. 13 at 0740-0743   Subpoena to Dr. Pusillo to appear for deposition and to produce
                      documents (April 22, 2015) and certificate of service (April 23, 2015)

      Ex. 14          Legal Support

Ex. 14 at 0744-0779   FWS Final Policy on Interpretation of the Phrase “Significant Portion
                      of Its Range” in the Endangered Species Act’s Definitions of
                      “Endangered Species” and “Threatened Species”, 79 Fed. Reg. 37578
                      at 37583 (Jul. 1, 2014))
Ex. 14 at 0780-0796   Animal Legal Defense Fund et al. v. U.S. Dep’t of Agriculture et al.,
                      2015 U.S. App. LEXIS 10036, No. 14-12260 (11th Cir. June 15, 2015)



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